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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 UNITED STATES OF AMERICA                  §
                                           §
 v.                                        §          Criminal No. 4:21-cr-
                                           §          00009
 ROBERT T. BROCKMAN                        §

                  JOINT MOTION FOR A PROTECTIVE ORDER

       The government and the Defendant (“Parties”) respectfully requests that this Court

grant this Unopposed Motion for a Protective Order. In support of the Motion, the Parties

respectfully states as follows:

       1.     On August 2, 2021, the Defendant produced to the government 15

Microsoft Word files in native format with the following file names (together the "Health

Documents"):

                  a. HEALTH ISSUES DECEMBER 2004.doc

                  b. HEALTH ISSUES DECEMBER 2005.doc

                  c. HEALTH ISSUES DECEMBER 2006.doc

                  d. HEALTH ISSUES DECEMBER 2007.doc

                  e. HEALTH ISSUES DECEMBER 2008.doc

                  f. HEALTH ISSUES DECEMBER 2009.doc

                  g. HEALTH ISSUES DECEMBER 2010.doc

                  h. HEALTH ISSUES DECEMBER 2011.doc

                  i. HEALTH ISSUES DECEMBER 2012.doc

                  j. HEALTH ISSUES DECEMBER 2013.doc
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                   k. HEALTH ISSUES DECEMBER 2014.doc

                   l. HEALTH ISSUES SEPTEMBER 2015.doc

                   m. HEALTH ISSUES SEPTEMBER 2016.doc

                   n. HEALTH ISSUES DECEMBER 2017.doc

                   o. HEALTH ISSUES SEPTEMBER 2018.docx

       2.       The Defendant's counsel, on or around July 16, 2021, retained Mr. Scott

Polus of Xact Data Discovery, a computer forensic expert, to analyze the metadata of the

Health Documents. On August 6, 2021, Defendant’s counsel filed with the Court an

expert report by Mr. Polus that concluded that each Health Document was created, last

modified and last saved contemporaneously on or about the date in each document's

filename.

       3.       On August 30, 2021, the Government requested a copy of the same forensic

image examine by Mr. Polus so that it could consider whether to stipulate to the

authenticity of the Health Documents. On September 1, 2021, Defendant's counsel

provided the government with a Logical Evidence File containing the Health Documents

in their original path and format, along with the metadata for each of the files exactly as

they exist on the original forensic image of the hard drive. In response, the Government

informed Defendant's counsel that it wanted to examine the same forensic image review

by Mr. Polus.

       4.       Defendant's counsel understands from Mr. Polus that the file metadata and

system metadata for the Health Documents are located on two separate hard drives that

were contained on the Defendant's laptop. One hard drive contains the Health Documents
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with their associated metadata (the "Data Hard Drive"). A second hard drive contains the

operating system for the laptop and is where the system metadata is located (the

"Operating System Hard Drive"). The Data Hard Drive was described by Mr. Polus as a

500 GB Samsung SSD 860 EVO mSATA with serial number S41NNBOKCO5315L. Mr.

Polus created a forensic image of the Data Hard Drive and generated a unique hash value

of eaa09abda7dfa707la5e362e515ec8e2. This hash value is unique to the Data Hard

Drive and ensures that other copies of this forensic image are genuine.

       5.     The Defendant represents that both the Data and Operating System Hard

Drives contain privileged information.

       6.     To facilitate the Government's review of both the file metadata and system

metadata for the Health Documents, while simultaneously protecting the Defendant's

privileged documents, the parties have agreed to enter into a protective order to govern

the Government's review of forensic images of the Data Hard Drive and the Operating

System Hard Drive.

       WHEREFORE, the Parties respectfully request that this Honorable Court enter a

Protective Order in the form attached hereto as Exhibit 1.

     Respectfully submitted on September 10, 2021.

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